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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

RUSORO MINING LIMITED, )
)
Petitioner, )
)
Vv. ) Civil Case No. 16-cv-02020 (RJL)
)
BOLIVARIAN REPUBLIC OF ) me
VENEZUELA, ) FILED
)
Respondent. ) MAR - 2 2018
) Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

ORDER

( st
March , 2018 [Dkt. ## 1, 16]

As set forth in the accompanying Memorandum Opinion, the Court hereby
ORDERS that:

1. Respondent’s Motion to Dismiss Petition and to Deny Confirmation of Arbitral
Award, or, in the Alternative, to Stay [Dkt. # 16] is DENIED;

2. Petitioner’s Petition to Confirm Arbitral Award [Dkt. #1] is GRANTED;

3. The Award of the Arbitral Tribunal is CONFIRMED;

4. Judgment for Rusoro Mining Limited is ENTERED against Respondent in the
amount of $967,777,002.00, plus (i) interest as provided by the arbitral

tribunal, accruing through the date of this order; (ii) post-judgment interest,
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pursuant to 28 U.S.C. § 1961, accruing through the date of payment; and

(iii) costs as provided by the arbitral tribunal, in the amount of $3,302,500.00.

SO ORDERED.

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RICHARD iL ON
United States District Judge
